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                                                  U.S. Department of Justice
                                                  United States Attorney
                                                  District of New Jersey
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                                                          April 3, 2023
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8 S. Maple Ave.
Marlton, NJ 08053

Stacy Ann Biancamano
Biancamano Law
42 A North 20th Street
Kenilworth, NJ 07033

           Re: Request for Additional Expert Materials from Emanual Kapelsohn

Dear Mr. Alterman and Ms. Biancamano:

       The Government writes seeking additional materials referenced in Mr.
Kapelsohn’s expert report and CV submission. The Government is seeking the following
materials:

           1. Any documentation, including reports, personnel records, or police reports
              concerning the two occasions during which Mr. Kapelsohn professed to use
              OC spray “on the street” as referred to in his report.

           2. Mr. Kapelsohn’s hourly rates for the various tasks performed on this case,
              including his hourly rate for drafting the report, research, trial preparation and
              court testimony, copies of all invoices up to the date of trial for work
              performed on this case, and disclosure of the total amount Mr. Kapelsohn has
              billed the defense for as of the start of trial.

           3. Mr. Kapelsohn’s rates for consulting or other paid engagements performed for
              OC manufacturers, a summary of consulting work performed, and invoices
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           associated with any paid work performed for OC manufacturers, as well as
           written work product provided to OC manufacturers for pay.

       4. A list of cases for which Mr. Kapelsohn has been engaged as an expert or
          drafted a report on the deployment of OC spray by a law enforcement officer,
          indicating which court the case was in, the case number, and whether Mr.
          Kapelsohn gave court or deposition testimony.

       5. Any video footage showing Mr. Kapelsohn being sprayed with OC spray, or
          spraying others, or video footage generally of OC spray being deployed that
          Mr. Kapelsohn refers to or relies on in his report.

       6. The FBI statistical data referred to on page 20 of the expert report.

       7. The 11th Circuit caselaw referenced on page 25 of the expert report.

       8. All interview notes, memos, emails, recordings, or records of any interviews,
          conversations, or communications with anyone consulted which was used to
          form the basis of the expert opinions or factual statements contained in the
          expert report.

       9. All raw data, statistics, scientific articles, or other notes of any kind relied on
          to form the basis of the expert opinions or to make factual statements
          contained in the report.

       10. A list of any individuals that Mr. Kapelsohn consulted to form the basis for
           the opinions or factual statements in the expert report and any notes or
           communications with such persons.

       11. Written, video, powerpoint, notes, speaking points, or other content of the
           trainings on OC spray use that Mr. Kapelsohn purported to have given in his
           report.

        Please inform the Government as soon as possible of your responses, and to the
extent that items sought on the above list do not exist, please ask Mr. Kapelsohn to certify
and confirm that in writing.

                                                      Very truly yours,

                                                      PHILIP R. SELLINGER
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                                        United States Attorney


                                        S/Lindsey R. Harteis
                                  By:   LINDSEY R. HARTEIS
                                        Assistant U.S. Attorney




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